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    EXHIBIT
                                  7
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                                KORDE & ASSOCIATES, P.C.
                                              ATTORNEYS AT LAW
                               SERVING MASSACHUSETTS, NEW HAMPSHIRE, & RHODE ISLAND

 July 16, 2018                                             FIRST CLASS & CERTIFIED MAIL

 Felipe D. Mercedes
 160-162 Whittier Avenue                                         9489 °Dia
 Providence, RI 02909                                                            027 606 2 s
                                                                                             06
        RE: NOTICE OF DEFAULT
        Property Address: 160-162 Whittier Avenue, Providence, RI 02909
        Our File No. 16-026628

 Dear Sir/Madam:

 THIS IS AN ATTEMPT TO COLLECT A DEBT, ANY INFORMATION OBTAINED WILL BE
 USED FOR THAT PURPOSE.

 Please be advised that this firm has been retained by Shellpoint Mortgage Servicing as servicer for The
 Bank Of New York Mellon FKA The Bank Of New York As Trustee For The Benefit Of The
 Certificateholders Of The CWABS Inc., Asset-Backed Certificates, Series 2004-2 (the "Mortgagee") to
 commence foreclosure proceedings on the above-entitled premises for breach of the covenants of the
 mortgage of Felipe D. Mercedes and Adelaida D. Mercedes to Mortgage Electronic Registration
 Systems, Inc. acting solely as a nominee for Domestic Bank dated October 30, 2003 in the original
 principal amount of $140,000.00 in Book 6157, Page 335 in the Records of Land Evidence in the City of
 Providence, RI, which mortgage secures a Note of Felipe D. Mercedes to Domestic Bank, a Federal
 Savings Bank of same date and original principal amount.

 Specifically, the aforesaid Note and Mortgage are in default as payments of principal and/or interest
 have not been made in accordance with the terms and conditions of the Note and Mortgage. Your loan
 is in default for the November 1, 2015 payment and all the payments due each month thereafter, as
 provided in said Note. The amount required to cure the default as of the date of this letter is $49,868.96.
 DEMAND is hereby made upon you to cure this default by August 20, 2018. In order to cure this
 default, you must pay the total amount of $49,868.96. The amount must be received in certified funds.

 You are advised that unless the amount stated above is received by the Mortgagee, do Korde &
 Associates, P.C., 900 Chelmsford Street, Suite 3102, Lowell, MA 01851 by August 20, 2018, the
 Mortgagee may accelerate the payment of all sums secured by the aforesaid mortgage and may exercise
 all rights as set forth under the power of sale contained in said mortgage, including a foreclosure sale of
 the mortgaged premises. Please be advised that you have the right to reinstate after acceleration and you
 have the right to bring a court action to assert the non-existence of a default or any other defense which
 you have to the acceleration and the sale of the mortgaged premises.


        900 CHELMSFORD STREET, SUITE 3 1 02, LOWELL, MASSACHUSE. I I S 0 1 85 1
                     PHONE: 978-256-1500 / FAX: 978-256-7615
          HOURS OF OPERATION: 8:30AM - 5:30PM, EST MONDAY THRU FRIDAY
Case 1:18-cv-00570-JJM-LDA Document 1-7 Filed 10/15/18 Page 3 of 13 PageID #: 65




                               KORDE &ASSOCIATES, P.C.
                                             ATTORNEYS AT LAW

                              SERVING MASSACHUSETTS, NEW HAMPSHIRE, & RHODE ISLAND

Unless you notify this office within 30 days after receiving this notice that you dispute the validity of the
debt or any portion thereof, this office will assume this debt is valid. If, within the thirty-day period,
you notify this office in writing that the debt, or any portion thereof, is disputed, we will obtain
verification of the debt and mail a copy of such verification to you. If requested within 30 days of
receipt of this notice, this office will provide you with the name and address of the original creditor, if
different from the current creditor.

If you (1) did not execute the Promissory Note relating to this mortgage; (2) are in bankruptcy; or
(3) have been discharged in bankruptcy, this letter is for informational purposes only and is not
intended as an attempt to collect a debt or an act to collect, assess or recover all or any portion of
the debt from you personally.

Please give this your immediate attention.

Very truly yours,


 alter H. Porr, Jr.
WP/ke




       900 CHELMSFORD STREET, SUITE 3102, LOWELL, MASSACHUSETTS 01851
                   PHONE: 978-256-1500 / FAX: 976-256-7615
         HOURS OF OPERATION: 8:30AM - 5:30PM, EST MONDAY THRU FRIDAY
Case 1:18-cv-00570-JJM-LDA Document 1-7 Filed 10/15/18 Page 4 of 13 PageID #: 66




                               KORDE 8c ASSOCIATES, P.C.
                                             ATTORNEYS AT LAW
                              SERVING MASSACHUSETTS, NEW HAMPSHIRE, & RHODE ISLAND

July 16, 2018                                         FIRST CLASS & CERTIFIED MAIL

Adelaida D. Mercedes
160-162 Whittier Avenue                                   948
Providence, RI 02909                                       -___] 0027 6062 5060 98

       RE: NOTICE OF DEFAULT
       Property Address: 160-162 Whittier Avenue, Providence, RI 02909
       Our File No. 16-026628

Dear Sir/Madam:

THIS IS AN ATTEMPT TO COLLECT A DEBT, ANY INFORMATION OBTAINED WILL BE
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Please be advised that this firm has been retained by Shellpoint Mortgage Servicing as servicer for The
Bank Of New York Mellon FKA The Bank Of New York As Trustee For The Benefit Of The
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principal amount of $140,000.00 in Book 6157, Page 335 in the Records of Land Evidence in the City of
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Savings Bank of same date and original principal amount.

Specifically, the aforesaid Note and Mortgage are in default as payments of principal and/or interest
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DEMAND is hereby made upon you to cure this default by August 20, 2018. In order to cure this
default, you must pay the total amount of $49,868.96. The amount must be received in certified funds.

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Associates, P.C., 900 Chelmsford Street, Suite 3102, Lowell, MA 01851 by August 20, 2018, the
Mortgagee may accelerate the payment of all sums secured by the aforesaid mortgage and may exercise
all rights as set forth under the power of sale contained in said mortgage, including a foreclosure sale of
the mortgaged premises. Please be advised that you have the right to reinstate after acceleration and you
have the right to bring a court action to assert the non-existence of a default or any other defense which
you have to the acceleration and the sale of the mortgaged premises.


       900 CHELMSFORD STREET, SUITE 31 02, LOWELL, MASSACHUSETTS 01 851
                    PHONE: 978-256-1500 / FAX: 978-256-7615
         HOURS OF OPERATION: 8:30AM - 5:30PM, EST MONDAY THRU FRIDAY
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                                KORDE & ASSOCIATES, P.C.
                                              ATTORNEYS AT LAW

                               SERVING MASSACHUSETTS, NEW HAMPSHIRE, & RHODE ISLAND

 Unless you notify this office within 30 days after receiving this notice that you dispute the validity of the
 debt or any portion thereof, this office will assume this debt is valid. If, within the thirty-day period,
 you notify this office in writing that the debt, or any portion thereof, is disputed, we will obtain
 verification of the debt and mail a copy of such verification to you. If requested within 30 days of
 receipt of this notice, this office will provide you with the name and address of the original creditor, if
 different from the current creditor.

 If you (1) did not execute the Promissory Note relating to this mortgage; (2) are in bankruptcy; or
 (3) have been discharged in bankruptcy, this letter is for informational purposes only and is not
 intended as an attempt to collect a debt or an act to collect, assess or recover all or any portion of
 the debt from you personally.

 Please give this your immediate attention.




        900 CHELMSFORD STREET, SUITE 3102, LOWELL, MASSACHUSETTS 01851
                    PHONE: 978-256-1500 / FAX: 978-256-7615
          HOURS OF OPERATION: 8:30AM - 5:30PM, EST MONDAY THRU FRIDAY
Case 1:18-cv-00570-JJM-LDA Document 1-7 Filed 10/15/18 Page 6 of 13 PageID #: 68




                               KORDE & ASSOCIATES, P.C.
                                             ATTORNEYS AT LAW
                              SERVING MASSACHUSETTS, NEW HAMPSHIRE, & RHODE ISLAND

July 16, 2018                                        FIRST CLASS & CERTIFIED MAIL

Felipe D. Mercedes
162 Whittier Avenue 1
Providence, RI 02909                                       9489 0090 0027 6062 5061 04

       RE: NOTICE OF DEFAULT
       Property Address: 160-162 Whittier Avenue, Providence, RI 02909
       Our File No. 16-026628

Dear Sir/Madam:

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Please be advised that this firm has been retained by Shellpoint Mortgage Servicing as servicer for The
Bank Of New York Mellon FICA The Bank Of New York As Trustee For The Benefit Of The
Certificateholders Of The CWABS Inc., Asset-Backed Certificates, Series 2004-2 (the "Mortgagee") to
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mortgage of Felipe D. Mercedes and Adelaida D. Mercedes to Mortgage Electronic Registration
Systems, Inc. acting solely as a nominee for Domestic Bank dated October 30, 2003 in the original
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provided in said Note. The amount required to cure the default as of the date of this letter is $49,868.96.
DEMAND is hereby made upon you to cure this default by August 20, 2018. In order to cure this
default, you must pay the total amount of $49,868.96. The amount must be received in certified funds.

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Associates, P.C., 900 Chelmsford Street, Suite 3102, Lowell, MA 01851 by August 20, 2018, the
Mortgagee may accelerate the payment of all sums secured by the aforesaid mortgage and may exercise
all rights as set forth under the power of sale contained in said mortgage, including a foreclosure sale of
the mortgaged premises. Please be advised that you have the right to reinstate after acceleration and you
have the right to bring a court action to assert the non-existence of a default or any other defense which
you have to the acceleration and the sale of the mortgaged premises.


       900 CHELMSFORD STREET, SUITE 3102, LOWELL, MASSACHUSETTS 01851
                    PHONE: 978-256-1500 / FAX: 978-256-7615
         HOURS OF OPERATION: 8:30AM -- 5:30PM, EST MONDAY THRU FRIDAY
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                               KORDE & ASSOCIATES, P.C.
                                             ATTORNEYS AT LAW
                              SERVING MASSACHUSETTS, NEW HAMPSHIRE, & RHODE ISLAND

Unless you notify this office within 30 days after receiving this notice that you dispute the validity of the
debt or any portion thereof, this office will assume this debt is valid. If, within the thirty-day period,
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Please give this your immediate attention.

Very truly yours


Walter H. Porr, Jr.
WP/ke




       900 CHELMSFORD STREET, SUITE 31 02, LOWELL, MASSACHUSETTS 01 85 1
                     PHONE: 978-256-1500 / FAX: 978-256-7615
          HOURS OF OPERATION: 8:30AM - 5:30PM, EST MONDAY THRU FRIDAY
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                              KORDE & ASSOCIATES, P.C.
                                            ATTORNEYS AT LAW
                              SERVING MASSACHUSETTS, NEW HAMPSHIRE, & RHODE ISLAND

July 16, 2018                                 FIRST CLASS & CERTIFIED MAIL

Felipe D. Mercedes
162 Whittier Avenue
Providence, RI 02909                                      9489 0090 0027 6062 5061 11

       RE: NOTICE OF DEFAULT
       Property Address: 160-162 Whittier Avenue, Providence, RI 02909
       Our File No. 16-026628

Dear Sir/Madam:

THIS IS AN ATTEMPT TO COLLECT A DEBT, ANY INFORMATION OBTAINED WILL BE
USED FOR THAT PURPOSE.

Please be advised that this firm has been retained by Shellpoint Mortgage Servicing as servicer for The
Bank Of New York Mellon FKA The Bank Of New York As Trustee For The Benefit Of The
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       900 CHELMSFORD STREET, SUITE 3102, LOWELL, MASSACHUSETTS 0 1851
                    PHONE: 978-256-1500 / FAX: 978-256-7615
         HOURS OF OPERATION: 8:30AM - 5:30PM, EST MONDAY THRU FRIDAY
Case 1:18-cv-00570-JJM-LDA Document 1-7 Filed 10/15/18 Page 9 of 13 PageID #: 71




                               KORDE & ASSOCIATES, P.C.
                                              ATTORNEYS AT LAW
                              SERVING MASSACHUSETTS, NEW HAMPSHIRE, & RHODE ISLAND


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 Walter H. Porr, Jr.
 WP/ke




        900 CHELMSFORD STREET, SUITE 3102, LOWELL, MASSACHUSETTS 01851
                     PHONE: 978-256-1500 / FAX: 978-256-7615
          HOURS OF OPERATION: 8:30AM - 5:30PM, EST MONDAY THRU FRIDAY
Case 1:18-cv-00570-JJM-LDA Document 1-7 Filed 10/15/18 Page 10 of 13 PageID #: 72




                               KORDE & ASSOCIATES, P.C.
                                              ATTORNEYS AT LAW
                               SERVING MASSACHUSETTS, NEW HAMPSHIRE, & RHODE ISLAND

 July 16, 2018                             FIRST CLASS & CERTIFIED MAIL

 Adelaida D. Mercedes
 162 Whittier Avenue 1
 Providence, RI 02909
                                                                9489 0090 0027 6062 5061 28
        RE: NOTICE OF DEFAULT
        Property Address: 160-162 Whittier Avenue, Providence, RI 02909
        Our File No. 16-026628

 Dear Sir/Madam:

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 Bank Of New York Mellon FKA The Bank Of New York As Trustee For The Benefit Of The
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        900 CHELMSFORD STREET, SUITE 3102, LOWELL, MASSACHUSETTS 0 1851
                     PHONE: 978-256-1500 / FAX: 978-256-7615
          HOURS OF OPERATION: 8:30AM - 5:30PM, EST MONDAY THRU FRIDAY
Case 1:18-cv-00570-JJM-LDA Document 1-7 Filed 10/15/18 Page 11 of 13 PageID #: 73



                                KORDE & ASSOCIATES, P.C.
                                              ATTORNEYS AT LAW
                               SERVING MASSACHUSETTS, NEW HAMPSHIRE, & RHODE ISLAND

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 Walter H. Porr, Jr.
 WP/ke




        900 CHELMSFORD STREET, SUITE 3102, LOWELL, MASSACHUSETTS 01851
                    PHONE: 978-256-1500 / FAX: 978-256-7615
          HOURS OF OPERATION: 8:30AM - 5:30PM, EST MONDAYTHRU FRIDAY
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                                KORDE & ASSOCIATES, P.C.
                                              ATTORNEYS AT LAW
                               SERVING MASSACHUSETTS, NEW HAMPSHIRE, & RHODE ISLAND

 July 16, 2018                                   FIRST CLASS & CERTIFIED MAIL

 Felipe D. Mercedes
 c/o John Ennis, Esq.
 1200 Reservoir Avenue
 Cranston, RI 02920                                        9 489 0090 0027 6062 5061 35

        RE: NOTICE OF DEFAULT
        Property Address: 160-162 Whittier Avenue, Providence, RI 02909
        Our File No. 16-026628

 Dear Sir/Madam:

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 Systems, Inc. acting solely as a nominee for Domestic Bank dated October 30, 2003 in the original
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        900 CHELMSFORD STREET, SUITE 3102, LOWELL, MASSACHUSETTS 01851
                    PHONE: 978-256-1500 / FAX: 978-256-7615
          HOURS OF OPERATION: 8:30AM - 5:30PM, EST MONDAY THRU FRIDAY
Case 1:18-cv-00570-JJM-LDA Document 1-7 Filed 10/15/18 Page 13 of 13 PageID #: 75




                                KORDE & ASSOCIATES, P.C.
                                              ATTORNEYS AT LAW
                               SERVING MASSACHUSETTS, NEW HAMPSHIRE, & RHODE ISLAND


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 Walter H. Porr,
 WP/ke




        900 CHELMSFORD STREET, SUITE 3102, LOWELL, MASSACHUSETTS 01851
                      PHONE: 978-256-1500 / FAX: 978-256-7615
           HOURS OF OPERATION: 8:30AM - 5:30PM, EST MONDAY THRU FRIDAY
